            Case 3:20-mj-00029-RCY Document 1 Filed 02/21/20 Page 1 of 13 PageID# 1

 AO 91(Rev. 11/11) Criminal Complaint


                                     United States District Court
                                                             for the

                                                Eastern District of Virginia

                   United States of America
                               V.
                    Joseph Marvin Bryant                               Case No ,3'20rYU2^

                          Defendant(s)


                                              CRIMBVAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s)of               February 20.2020,             in the county of           Chesterfield         in the
      Eastem           District of         Virginia        ,the defendant(s) violated:

             Code Section                                                  Offense Description
18 U.S.C. Section 2241(c)                  Aggravated Sexual Battery: the defendant did, cross state lines with the intent to
                                           engage in a sexual act with a person who has not attained the age of 12 in
                                           violation of Title 18 United States Code, Section 2241(c)




        This criminal complaint is based on these facts:
See attached affidavit incorporated herein by reference.




          Sf Continued on the attached sheet.



           Reviewed by AUSA/SAUSA:                                                        Compmmnt's signature

           Samuel E. Fishel                                                                                        S^c:a(
                                                                                          Printed name and title


 Swom to before me and signed in my presence.


 Date:

                                                                          Roderick C.VWImam
 City and state:                                                          United States Magistrate Judge
                                                                                          Printed name and title
   Case 3:20-mj-00029-RCY Document 1 Filed 02/21/20 Page 2 of 13 PageID# 2




                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Cedric Jefferson, being first duly sworn,hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND


       1.      I am a Special Agent with the Federal Bureau ofInvestigation(FBI), United

States Department of Justice, and have been so employed by the FBI since January 2015. I am

currently assigned to the Richmond Field Office, Richmond, Virginia. I am assigned to the

Child Exploitation Task Force that conducts investigations pertaining to child sex trafficking,

child pornography, and child abductions. As part of my duties, I have received training

regarding the investigation of various federal crimes including, but not limited to, child

exploitation, complex financial crimes, civil rights and public corruption. By virtue of my FBI

employment,I perform and have performed a variety ofinvestigative tasks, including conducting

arrests and the execution offederal search warrants and seizures. As a Special Agent,I am an

investigative or law enforcement officer ofthe United States within the meaning of 18 U.S.C.

§ 2510(7).

       2.      I am thus an officer ofthe United States who is empowered by law to conduct

investigations of, and make arrests for, offenses enumerated in Title 18, United States Code,

Sections 2251,2252,2252A,2422,and 2241 involving child exploitation offenses.

       3.      The statements in this affidavit are based in part on your affiant's investigation of

this matter and on information provided by other law enforcement agents. I make this affidavit

in support ofa criminal complaint charging the following individuals, JOSEPH MARVIN

BRYANT,with Aggravated Sexual Abuse With Children, in violation of 18 U.S.C. § 2241(c).

       4.      This affidavit is being submitted for the limited purpose to show merely that there

is sufficient probable cause for the requested arrest warrant and does not set forth all of my
   Case 3:20-mj-00029-RCY Document 1 Filed 02/21/20 Page 3 of 13 PageID# 3



knowledge about this investigation. I have set forth facts that I believe are sufficient to charge

BRYANT with the criminal conduct set forth herein.

                           RELEVANT STATUTORY PROVISIONS

        5.      Aggravated Sexual Abuse With Children: 18 U.S.C. § 2241(c)provides that

whoever crosses a State line with intent to engage in a sexual act with a person who has not

attained the age of 12 years, or attempts to do so, shall be fined under this title and imprisoned

for not less than 30 years or for life.

                                     PROBABLE CAUSE


        6.      The FBI Richmond Division's Child Exploitation Task Force located in Virginia

conducted an undercover operation targeting subjects willing to travel in order to engage in

sexual conduct with a minor. During the operation, online covert employees(OCE's)used a

covert social media account to pose as an adult intermediary who had access to a female minor.

The OCE posted a profile on an online platform and subsequently responded to subjects who

indicated a desire to meet with the female minor.

        7.      An OCE posted an undercover(UC)profile on "Alt.com." Alt.com is a network

for members interested in altemative forms ofsexual relationships and friendship. Users can

bond over fetishes, kinks, and BDSM (Bondage, Discipline, Sadism,and Masochism), as well as

explore the site's large stockpile ofsexual videos, articles, and other content. The UC profile

noted that the user was an adult female from Chesterfield, Virginia. It also included a list of

kinks to include "Adult Breastfeeding","Daddy/babygirl","mom/son","young/old,"

"Mommy/Daddy play" and "taboo family". On January 16^,2020,an individual utilizing the
user name "masterjoe_2000" contacted the OCE through the UC profile,"Becca",on Alt.com

and exchanged the following messages:
   Case 3:20-mj-00029-RCY Document 1 Filed 02/21/20 Page 4 of 13 PageID# 4



       master_joe__2000:,"Have you ever been owned?"
       Becca:"! havent"
       niaster_joe_2000:"But you want to be?"
       Becca:"Fm more into taboo family play"
       master_joe_2000 "Nice" and "What do you enjoy
       Becca:"Being a mommy to my family"
       masterjoe__2000:"Such as?"
       Becca:"I do t want to go into detail on here. I*m sure you can use your
       imagination"
       master_joe__2000:"Do you have any kids?"
       Becca:"1 have a daughter".
       masterjoe:"Mmmmmm""Wickr or whatsapp both are highly secure"
       Becca:"What*s your name on whatsapp"
       master_joe_2000: "Try my phone number,7174484343"


       "Masterjoe_2000"'s profile stated that he was a 60 year-old male with a date of birth of

February 14^, 1959 who is in the Washington D.C.A^irginia area.
       8.     On January 16^,2020 the OCE went on Whatsapp and wrote a message to the
number provided by "masterJoe_2000". The following exchange occurred:

       Becca:"So do I call you joe, master or master joe?"
       masterjoe:"Joe or sir, unless you become mine."
       masterjoe:"How old is your girl?"
       Becca: "She's 10",
       masterjoe:"A good mother makes sure her child gets all the knowledge and
       training she needs."


       Later in the conversation,the OCE stated that two years ago she walked in on her

boyfnend at the time and her daughter and it turned her on. Joe asked ifthe daughter was

receptive and asked if her boj^end had taken her far. The two then had the following

exchange:

       Becca:"She is" and "Ifshe didn't enjoy it we wouldn't be doing it"
       masterjoe:"Wonderful."
       Becca:"Oral and fingering but no vaginal or anal sex"
       masterJoe:"Hymen still intact?"
       Becca:"It is"
       masterjoe:"Mmmmm"
   Case 3:20-mj-00029-RCY Document 1 Filed 02/21/20 Page 5 of 13 PageID# 5



       master_Joe:"You and her interested in living in dc?"


        Joe then explained that the house would come with the deal ofthe OCE being his. The

two then continued with the following exchange:

       masterjoe: "She like having her pussy eaten?"
       Becca:"She loves it" and "She loves eating it too",
       masterjoe:I would love to watch that

       9.      On January 17^,2020, Joe exchanged the following chats with the OCE persona
       masterjoe:"Obviously,if a vanilla was there,she is a kid." and "We have to
       protect the secret."
       Becca:"Oh ok"
       master_joe:"When just her, you,and I she would fully participate".
       Becca:"My ex played with her by himself sometimes.Is that something you'd like
       too?"
       masterjoe:"Yes".
       master_Joe:"I want you to position my cock at her cunt,especially the first time,
       and make it clear to her that it's her responsibility to take it." and "Same for her
       ass."
       Becca:"How would you punish us?"
       masterJoe:"Belt, paddle,canes,crops,floggers, comer time, or many many other
       ways."
       Becca:"Oh wow You're really experienced"
       masterjoe: "I've owned and trained slaves for over forty years." and "Never a pair
       like you,though it's been a goal."

       10.     On January 18^,2020, Joe and the OCE persona "Becca" exchanged the
following chats:

       Becca:"Do you chat on your phone or computer?"
       Becca: "It's saying online"
       masterjoe:"A bit of both." "Computer right now."


       Joe later said he owned a MacBook Pro. Later in the conversation, Joe mentioned

pornography and sent a link to a text based pornographic story that featured incest, child

exploitation and bestiality. Joe and the OCE persona Becca then had the following exchange

regarding what Becca had told her daughter about him:
   Case 3:20-mj-00029-RCY Document 1 Filed 02/21/20 Page 6 of 13 PageID# 6



        Becca: "She's excited"
        masterjoe:"What did you tell her
        Becca: "She's wanted to have vaginal sex for awhile"
        master_Joe:"Good.That will be a priority for me." and "And anal."


        Later in the conversation, Joe tells the OCE the ten year-old daughter needs an online

account and they discuss how to create one. Joe then sends the OCE a link to a video of

bestiality after the OCE told Joe bestiality occurred in the text based pornographic story Joe had

sent earlier.

        11.     On January 20^, 2020 Joe mentioned he was in his hotel in Washington,D.C.for
work and had the following exchange with OCE persona Becca.

        master_Joe:"Who knows,in a few years, maybe I'll marry her so it can be in the
        open."
        Becca: "She's 10 now so I would hope you're not bored of us by the time she's
        legal"
        masterjoe:"Oh I won't be."
        masterjoe:"You'll both eventually leam to tend dogs when I order it" "In the
        cunt, ass, and mouth."
        Becca:"Do you have dogs you use for sex?"
        masterjoe:"Not right now,but I'll get them so they can be raised by you and her,
        teaching them and you.
        Becca:"What did you mean by tend?",
        masterjoe:"Suck,fuck,ass fuck. Tend their needs."
        masterjoe:"I go where the work is."
        masterjoe:"Just left capital one."
        masterjoe:"Was in pa for a decade before that." Later Joe wrote,"I'm looking at
        a nice apt in bethesda,1700 a month."

        12.     On January 21 2020,the OCE told Joe she had created a Kik account for the

ten-year old female. Later in the conversation Joe wrote that he was back in Washington, D.C.

Joe believed he was speaking Becca on Whatsapp and that he was messaging the ten year-old

daughter, Sarah, on KIK. Joe's usemame on KIK was "Master_Joe_2000". After introductions

were made Master Joe and OCE persona, Sarah, exchanged the following chats:

        masterjoe:"When is your birthday?"
  Case 3:20-mj-00029-RCY Document 1 Filed 02/21/20 Page 7 of 13 PageID# 7




      masterjoe:"You call me sir."
      Sarah:"In August"
      master_Joe:"So about 10 and a half?"
      Sarah:"Yeah".
      master_Joe:"How long ago were you first touched?"
      Sarah:"When I was 7".
      master_joe:"And when did you have your first orgasm?"
      Sarah:"I'm not sure I know mom gave it to me".
      master_Joe:"So only the one guy and your mom have touched you?"
      Sarah:"Yeah".
      masterJoe:"But nothing has been in your cunt?"
      Sarah:"Moms tongue has"
      masterjoe:"I mean deep, breaking your hymen?"
      Sarah:"?".
      masterjoe: "I'll be eating your sweet little cunt also." "Your virginity",
      Sarah:"No I'm still a virgin"
      masterjoe:"You won't be when I get my hands on you." "I wUl take all your
      holes."
      Sarah:"Like my mouth and vagina".
      masterJoe:"Anyone ever lick or finger your ass?"
      Sarah:"No That would hurt".
      masterjoe:"Yes, both of those. And your ass." "At first a bit." "But I am going to
      train you to love it."
      masterjoe:"So tell me what you've done?"
      Sarah:"I've sucked dick and eaten pussy"."I've fingered my mom and jerked off
      her ex".
      masterjoe: "And you've been eaten."
      Sarah:"I have". "I love when I'm eaten".
      masterjoe: "I'D enjoy Ucking you,and making other slaves eat you,especially your
      mom.""Odds are good you'll be sitting on her mouth when I first fiickyou."
      Sarah:"Have you ever had sex with someone my age"
      masterjoe:"No".
      Sarah:"How old ru"
      masterjoe: "I'D be 61 in 3 weeks."
      Sarah:"Happy birthday!!!!!" and Masterjoe repUed,"Feb 14".

      13.    On January 22"^^, 2020 Joe mentioned he had lots ofsex toys. Joe and the
OCE persona Becca had the following exchange:

      masterjoe: "Most with me aU the time."
      Becca:"You take them with you when you travel?"
      masterjoe:"They are in my car."
      Becca:"Because you'U never know when you need them?",
      masterjoe: "Yes,and then they are not in the house for prying eyes."
      Becca:"Are you back home then or stiU in dc?"
   Case 3:20-mj-00029-RCY Document 1 Filed 02/21/20 Page 8 of 13 PageID# 8



         masterjoe: **In DC during the week,and this weekend."

         14.    On January 23^^, 2020 Master Joe exchanged the following chats with OCE
persona Sarah:

         masterjoe:"And 1*11 pound you hard.**,
         Sarah: **What do u mean?**
         masterjoe: **Fuck you.** **Cunt,ass,and mouth.**
         Sarah:**Oh wow Ass might huttt**
         Sarah: **Hurt but everything else sounds great**
         masterjoe: **I want it to hurt you when I do.** **And you*ll love it.**


         Later Master Joe told the ten year-old female she would love nipple clamps and bondage.

On Whatsapp,the OCE persona Becca mentioned the ten year old was looking for pomography

that featured people her age. Joe wrote, "It's hard to get to." And "Requires bit coin, and access

to the dark web." And Becca replied,"Waaaaay beyond my skills" to which Joe replied,"Right,

until I teach you."

         15.    On January 27^,2020 Master Joe exchanged the following chats with OCE
persona Sarah:

         masterjoe: **I might even make you pee in her mouth. ©"
         Sarah: **Ewww** and **Gross**.
         masterjoe: **Done right shell love it, and so will you. ©**.
         masterjoe: **Do you ever make yourself cum or just when mom eats you?**,
         Sarah: **Both** **I can rub myself and make melt self cum**.
         masterjoe: **You need to start asking permission to cum.** **Like mom is doing.**

         16.    On February 4^,2020 Joe exchanged the following chats with OCE persona
Becca:


         masterJoe: **I picture earlier,fucking her mouth with you rimming me,her pulling
         my ass cheeks apart to give you better access and you gripping her hair and fucking
         me with her head.**
         Becca: **Oh my god that's so fucking hot**
         masterjoe: **Isn*t it.**
         Becca:**Yes**.
   Case 3:20-mj-00029-RCY Document 1 Filed 02/21/20 Page 9 of 13 PageID# 9



         masterJoe:"And I explain to you both,if she let*s my ass close 1*11 whip her, and
         her teeth touch my cock 1*11 whip you.**
         masterJoe: **I hope to be in my own place by next week.**
         Becca: **Where are you now?**
         masterjoe: **Hotels, or borrowing my daughter*s spare room.** **She knows I own
         slaves.**



         Joe went on to say he told her when she was eighteen years-old but the two ofthem had

never played with each other. Joe wrote,"She has never been my type." And "Her or my grand

daughter."

         17.     On February 5^,2020 Master Joe exchanged the following with OCE persona
Sarah:

         masterjoe: **Your mom and I are meeting in 8 days.** **The night before my
         birthday.**
         Sarah: **Happy birthday!!!!!**
         masterjoe: **She is going to bring me pictures of you.** Rah: **Show me just how
         adult you can be taking them.**
         Sarah: **I will You're gonna love em**.

         18.     On February 6^,2020 Joe had the following chat with OCE persona Becca:
         masterjoe: **I found a house by the way.** **Real nice. Lots of space.** **In rockville
         md.**
         masterjoe: **I should be moving in mid week.**

         19.     On February 8^,2020 Joe had the following exchange with OCE persona Becca:
         masterjoe: **Does she understand that she will never have boyfriends?** **That she
         will be mine and mine alone?**
         Becca: **You don't want her to date when she becomes a teenager?**
         masterjoe:'*No. I plan her to be my slave for life.**
         Becca: **Mmmmmm You will still share her with me though,right?**
         masterjoe: **With my permission, of course.**

         20.     On February 9''', 2020 Joe and OCE Persona Becca had the following chat:
         masterJoe: **What kind of car do you drive?**
         Becca: **It's a maroon Mazda. What do you drive
         masterjoe: **Real Prius.** **Tear*.
 Case 3:20-mj-00029-RCY Document 1 Filed 02/21/20 Page 10 of 13 PageID# 10



         21.    On February 10^,2020 Master Joe had the following chat with OCE persona
Sarah:

         master_joe:"You know the first time I take you will hurt a lot, and I will make it
         hurt all I can?".
         Sarah:"Why will it hurt"
         masterjoe:"I wUl be ripping your hymen."
         Sarah:"Oh k""V do u want to make it hurt all u can"
         masterjoe:"So I will make it hurt in different ways, because it will not make it
         worse for you and 1*11 love it so much more.**
         masterjoe: have a hard cock thinking about hurting you.**
         Sarah: **Ya**
         masterjoe:'*! cant wait to shove it up your tight little ass.**
         masterjoe: **The more you take,the more you want,the more sick and twisted you
         are,the more 1*11 love you.**

         22.    On February 13^,2020 Joe was set to meet with the OCE persona Becca but the
meeting was cancelled by the OCE. They had the following chat exchange:

         Becca: **I still need to see if my neighbor can watch Sarah** **rm so fucking mad
         right now** and Joe replied, **I*11 watch her.:)**.

         The OCE refiised because they had not yet met.

         masterjoe: **I*11 even send you a copy of my license.**

         The next message sent by Joe was a picture of a Virginia driver's license belonging to a

white male named Joseph Bryant. The OCE repeatedly refused to let Joe watch the ten year-old

female.


         masterjoe: **Just talking to you openly could land me in jail.**
                                                                                  th
         Later in the conversation the OCE and Joe agreed to meet on February 20 ,2020

         masterjoe:'*I might try to write a story about you having let me baby sit tonight.

         Becca: **That would be great to read I didn't know you wrote stories?**
         masterjoe: **I havn*t before, but you inspire me.:)**

         23.    On February 16*^, 2020 Master Joe had the following exchange with OCE persona
Sarah:
 Case 3:20-mj-00029-RCY Document 1 Filed 02/21/20 Page 11 of 13 PageID# 11



       masterjoe:"Fm writting a story about it/'
       Sarah:"Can 1 read it"
       masterjoe:"When Fm done.
       masterjoe:"Well,I just finished the part where I RIP your panties off so 1 can
       spank you more on your bare ass. ©"and "Running a finger down the crack of
       your ass, around your little hole,then down and around your cunt,ending by
       rubbing your clit"
       Sarah:"That's what we would have done? Now I'm really mad she didn't let u
       watch me"
       masterjoe:"We would have done a lot more then that."
       masterjoe:"We would have done a lot more then that."
       Sarah:"K"
       masterjoe:"Having a ten year old virgin as my slave has been my second biggest
       fantasy my entire life." "The biggest, having her and her mother."
       Sarah:"What do u wanna do Thursday"
       masterjoe:"I want your mom to put my hard cock in you for the first time."
                               ♦K
       24.     On February 17 ,2020 in reference to his story concerning what he would have

done had he babysat Sarah on the night of February 13*^, 2020 Joe wrote, "I would have sent it,
but its downstairs on my computer." Becca replied, "Ok Are you in goochland?" and Joe wrote,

"No. Rockville md."


       25.     On February 18^, 2020 Joe sent his completed story to the OCE persona "Becca"
on Whatsapp. The story details how a sixty year-old man came over to a child's house and

sexually exploited her with the help of the child's mother.

       26.     Between January Ib''^, 2020 and February 19th, 2020, investigators obtained

personally identifiable information from "masterjoe_2000"'s Alt.com profile and from

information volunteered during the chat sessions. "masterjoe_2000" revealed that he lived in

Goochland, Virginia and later Rockville, Maryland, that his first name is "Joe", that his birthdate

is February 14^, 1959, that his phone number is (717) 448-4343, and that he was previously
employed by Capital One. Agents also obtained pictures of the suspect from the chat sessions

themselves. Upon receipt of this information, agents utilized open source and FBI databases to

identify the suspect as JOSEPH MARVIN BRYANT.
  Case 3:20-mj-00029-RCY Document 1 Filed 02/21/20 Page 12 of 13 PageID# 12



         27.   Investigators received subscriber data from Verizon for phone number(717)448-

4343. The results revealed the account belonged to JOSEPH BRYANT,registered on April 17th,

2010.

         28.   A query ofthe Department of Motor Vehicles(DMV)database revealed that

JOSEPH MARVIN BRYANT holds a Virginia Driver's License, with an address of2513 Crest

Hollow Court, Goochland, Virginia, 23063,that matches the address included in the Verizon

subscriber records. It also matches the picture ofa Virginia Driver's License belonging to

JOSEPH BRYANT that was sent on Whatsapp on February 13^,2020. The picture on JOSEPH
MARVIN BRYANT'S DMV record also appeared to be the same person from the pictures

"masterjoe_2000" sent during the chat sessions.

         29.   The DMV query stated JOSEPH MARVIN BRYANT owns a 2015 Toyota Prius

with a Virginia tag of XPA7552 and "masterJoe_2000" verified through chats he drives a teal

Prius.


         30.   On February 20,2020,law enforcement arrested JOSEPH MARVIN BRYANT

when he appeared at the Wegmans grocery store located at 12501 Stone Village Way,

Midlothian, Virginia, in the Eastern District of Virginia, which was the meeting spot arranged

during messages between Joe and the OCE. Investigators took BRYANT into custody as he

approached a vehicle in which the OCE had indicated they would be waiting. BRYANT drove

up to the vehicle in a green 2015 Toyota Prius with Virginia tags XPA7552. Bryant stated that

he traveled to that location from his place ofemployment in Bethesda, Maryland.
  Case 3:20-mj-00029-RCY Document 1 Filed 02/21/20 Page 13 of 13 PageID# 13




                                       CONCLUSION


       31.    Based on the information detailed above,I respectfiilly submit there is probable

cause to charge JOSEPH MARVIN BRYANT with Aggravated Sex Abuse with Children,in

violation of 18 U.S.C. § 2241(c).

                                                   Respectfully Submitted,


                                                   Cedric JefferS^ Special Agent
                                                   FBI Child Exploitation Task Force
                                                   Federal Bureau ofInvestigation



SUBSCRIBED and SWORN before me this ^ day ofFebruary 2020



                                              Roderick C. Young
                                               United States Magistrate Jj 4ge
